Case 2:10-md-02179-CJB-DPC Document 1877-1 Filed 04/06/11 Page 1 of 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG MDL NO. 2179
“DEEPWATER HORIZON?” in the Gulf
OF MEXICO, ON APRIL 20, 2010 SECTION: “J”

JUDGE CARL J. BARBIER

MAG. JUDGE SALLY SHUSHAN

THIS DOCUMENT RELATES TO:
Civil Action No. 2:10-cv-1921-CJB-SS )
KELLI MANUEL TAQUINO, JESSICA )
MANCHESTER and ASHLEY MANUEL)
vs. TRANSOCEAN HOLDINGS, L.L.C, )
et al )

ORDER

Considering the above and foregoing Final Motion of Dismissal;

IT 1S HEREBY ORDERED, ADJUDGED AND DECREED that all matters in this
controversy filed by KELLI MANUEL TAQUINO (INDIVIDUALLY AND AS
ADMINISTRATOR AND PERSONAL REPRESENTATIVE OF THE ESTATE OF
KEITH BLAIR MANUEL), JESSICA MANCHESTER AND ASHLEY MANUEL,
INDIVIDUALLY AND AS THE HEIRS OF THE PRESUMED DECEASED, KEITH
BLAIR MANUEL, against any party including but not limited to TRANSOCEAN |
HOLDINGS, LLC; TRANSOCEAN OFFSHORE DEEPWATER DRILLING, INC.;
TRANSOCEAN DEEPWATER, INC.; BP, PLC, BP PRODUCTS NORTH AMERICA,
INC.; ANTHONY HAYWARD; HALLIBURTON ENERGY SERVICES, _INC.;
CAMERON’ INTERNATIONAL CORPORATION; ANADARKO- PETROLEUM —

CORPORATION; MITSUI & CO. (U.S.A.), INC. AND M-I L.L.C. be and the same are

Case 2:10-md-02179-CJB-DPC Document 1877-1 Filed 04/06/11 Page 2 of 2

hereby dismissed and discontinued, with full prejudice, each party to bear their own
costs.

SIGNED IN NEW ORLEANS, LOUISIANA, this day of

2011.

HONORABLE CARL J. BARBIER
UNITED STATES DISTRICT COURT JUDGE

